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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________
                                                :
SECURITIES AND EXCHANGE COMMISSION,             :
                                                :                   21-CV-11125-LAK
                              Plaintiff,        :
                                                :
            -against-                           :
                                                :
MEDALLION FINANCIAL CORP.,                      :
ANDREW MURSTEIN,                                :
LAWRENCE MEYERS,                                :
and ICHABOD’S CRANIUM, INC.,                    :
                                                :
                              Defendants.       :                                    05/30/2025
________________________________________________:


                   FINAL JUDGMENT AS TO DEFENDANTS
               LAWRENCE MEYERS AND ICHABOD’S CRANIUM, INC.

       The Securities and Exchange Commission having filed an Amended Complaint and

Defendants Lawrence Meyers (“Meyers”) and Ichabod’s Cranium, Inc. (together, “Defendants”)

having entered general appearances; consented to the Court’s jurisdiction over Defendants and

the subject matter of this action; consented to entry of this Final Judgment without admitting or

denying the allegations of the Amended Complaint (except as to jurisdiction and except as

otherwise provided herein in paragraph VI); waived findings of fact and conclusions of law; and

waived any right to appeal from this Final Judgment:

                                                I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendants are

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of



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interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to make any untrue statement of a material fact or to omit to state a material fact

                necessary in order to make the statements made, in the light of the circumstances

                under which they were made, not misleading; or

        (c)     to engage in any act, practice, or course of business which operates or would

                operate as a fraud or deceit upon any person.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                   II.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendants are permanently restrained and enjoined from violating Section 17(b) of the

Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] by using any means or

instruments of transportation or communication in interstate commerce or by use of the mails,

directly or indirectly, to publish, give publicity to, or circulate any notice, circular,

advertisement, newspaper, article, letter, investment service, or communication which, though

not purporting to offer a security for sale, describes such security for a consideration received or

to be received, directly or indirectly, from an issuer, underwriter, or dealer, without fully

disclosing the receipt, whether past or prospective, of such consideration and the amount thereof.



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       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant Meyers

shall pay a civil penalty in the amount of $100,000 to the Securities and Exchange Commission

pursuant to Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)] and Section 20(d) of

the Securities Act [15 U.S.C. § 77t(d)]. Meyers shall make this payment pursuant to the terms of

the payment schedule set forth in paragraph IV below after entry of this Final Judgment.

       Meyers may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Meyers may also pay by certified check, bank

cashier’s check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; Meyers as a defendant in this action; and specifying that payment is made pursuant to

this Final Judgment.

       Meyers shall simultaneously transmit photocopies of evidence of payment and case


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identifying information to the Commission’s counsel in this action. By making this payment,

Meyers relinquishes all legal and equitable right, title, and interest in such funds and no part of

the funds shall be returned to Meyers. The Commission shall send the funds paid pursuant to

this Final Judgment to the United States Treasury.

       The Commission may enforce the Court’s judgment for penalties by the use of all

collection procedures authorized by law, including the Federal Debt Collection Procedures Act,

28 U.S.C. § 3001 et seq., and moving for civil contempt for the violation of any Court orders

issued in this action. Meyers shall pay post-judgment interest on any amounts due after 30 days

of the entry of this Final Judgment pursuant to 28 U.S.C. § 1961.

                                                 IV.

       Defendant Meyers shall pay the total penalty due of $100,000 in twelve installments to

the Commission according to the following schedule: (1) $20,000, within 30 days of entry of

this Final Judgment; (2) $5,000, within 60 days of entry of this Final Judgment; (3) $5,000,

within 90 days of entry of this Final Judgment; (4) $5,000, within 120 days of entry of this Final

Judgment; (5) $5,000, within 150 days of entry of this Final Judgment; (6) $5,000, within 180

days of entry of this Final Judgment; (7) $5,000, within 210 days of entry of this Final Judgment;

(8) $5,000, within 240 days of entry of this Final Judgment; (9) $5,000, within 270 days of entry

of this Final Judgment; (10) $5,000, within 300 days of entry of this Final Judgment; (11)

$5,000, within 330 days of entry of this Final Judgment; and (12) $30,000, within 360 days of

entry of this Final Judgment. Payments shall be deemed made on the date they are received by

the Commission and shall be applied first to post judgment interest, which accrues pursuant to 28

U.S.C. § 1961 on any unpaid amounts due after 30 days of the entry of Final Judgment. Prior to




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making the final payment set forth herein, Meyers shall contact the staff of the Commission for

the amount due for the final payment.

         If Meyers fails to make any payment by the date agreed and/or in the amount agreed

according to the schedule set forth above, all outstanding payments under this Final Judgment,

including post-judgment interest, minus any payments made, shall become due and payable

immediately at the discretion of the staff of the Commission without further application to the

Court.

                                                 V.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein.

                                                VI.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the

allegations in the complaint are true and admitted by Defendant Meyers, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Meyers under this

Final Judgment or any other judgment, order, consent order, decree or settlement agreement

entered in connection with this proceeding, is a debt for the violation by Meyers of the federal

securities laws or any regulation or order issued under such laws, as set forth in Section

523(a)(19) of the Bankruptcy Code, 11 U.S.C. § 523(a)(19).

                                                VII.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________
                                                :
SECURITIES AND EXCHANGE COMMISSION,             :
                                                :                   21-CV-11125-LAK
                              Plaintiff,        :
                                                :
            -against-                           :
                                                :
MEDALLION FINANCIAL CORP.,                      :
ANDREW MURSTEIN,                                :
LAWRENCE MEYERS,                                :
and ICHABOD’S CRANIUM, INC.,                    :
                                                :
                              Defendants.       :
________________________________________________:

                     CONSENT OF DEFENDANTS LAWRENCE MEYERS
                           AND ICHABOD’S CRANIUM, INC.

          1.   Defendants Lawrence Meyers (“Meyers”) and Ichabod’s Cranium, Inc. (together,

“Defendants”) acknowledge having been served with the amended complaint in this action,

acknowledge having entered a general appearance, and admit the Court’s jurisdiction over

Defendants and over the subject matter of this action.

          2.   Without admitting or denying the allegations of the amended complaint (except as

provided herein in paragraph 11) and except as to personal and subject matter jurisdiction, which

Defendants admit, Defendants hereby consent to the entry of the final Judgment in the form

attached hereto (the “Final Judgment”) and incorporated by reference herein, which, among other

things:

               (a)     permanently restrains and enjoins Defendants from violation of Section

                       17(b) of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C.

                       § 77q(a)] and Section 10(b) of the Securities Exchange Act of 1934 (the

                       “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5 promulgated


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                       thereunder [17 C.F.R. § 240.10b-5], as set forth in the Final Judgment; and

               (b)     orders Meyers to pay a civil penalty in the amount of $100,000 under

                       Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)] and Section

                       20(d) of the Securities Act [15 U.S.C. § 77t(d)].

       3.      Meyers agrees that he shall not seek or accept, directly or indirectly,

reimbursement or indemnification from any source, including but not limited to payment made

pursuant to any insurance policy, with regard to any civil penalty amounts that Meyers pays

pursuant to the Final Judgment, regardless of whether such penalty amounts or any part thereof

are added to a distribution fund or otherwise used for the benefit of investors. Meyers further

agrees that he shall not claim, assert, or apply for a tax deduction or tax credit with regard to any

federal, state, or local tax for any penalty amounts that Meyers pays pursuant to the Final

Judgment, regardless of whether such penalty amounts or any part thereof are added to a

distribution fund or otherwise used for the benefit of investors.

       4.      Defendants waive the entry of findings of fact and conclusions of law pursuant to

Rule 52 of the Federal Rules of Civil Procedure.

       5.      Defendants waive the right, if any, to a jury trial and to appeal from the entry of

the Final Judgment.

       6.      Defendants enter into this Consent voluntarily and represent that no threats,

offers, promises, or inducements of any kind have been made by the Commission or any

member, officer, employee, agent, or representative of the Commission to induce Defendants to

enter into this Consent.

       7.      Defendants agree that this Consent shall be incorporated into the Final Judgment

with the same force and effect as if fully set forth therein.



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       8.      Defendants will not oppose the enforcement of the Final Judgment on the ground,

if any exists, that it fails to comply with Rule 65(d) of the Federal Rules of Civil Procedure, and

hereby waive any objection based thereon.

       9.      Defendants waive service of the Final Judgment and agree that entry of the Final

Judgment by the Court and filing with the Clerk of the Court will constitute notice to Defendants

of its terms and conditions. Defendants further agree to provide counsel for the Commission,

within thirty days after the Final Judgment is filed with the Clerk of the Court, with an affidavit

or declaration stating that Defendants have received and read a copy of the Final Judgment.

       10.     Consistent with 17 C.F.R. § 202.5(f), this Consent resolves only the claims

asserted against Defendants in this civil proceeding. Defendants acknowledge that no promise or

representation has been made by the Commission or any member, officer, employee, agent, or

representative of the Commission with regard to any criminal liability that may have arisen or

may arise from the facts underlying this action or immunity from any such criminal liability.

Defendants waive any claim of Double Jeopardy based upon the settlement of this proceeding,

including the imposition of any remedy or civil penalty herein. Defendants further acknowledge

that the Court’s entry of a permanent injunction may have collateral consequences under federal

or state law and the rules and regulations of self-regulatory organizations, licensing boards, and

other regulatory organizations. Such collateral consequences include, but are not limited to, a

statutory disqualification with respect to membership or participation in, or association with a

member of, a self-regulatory organization. This statutory disqualification has consequences that

are separate from any sanction imposed in an administrative proceeding. In addition, in any

disciplinary proceeding before the Commission based on the entry of the injunction in this

action, Defendants understand that they shall not be permitted to contest the factual allegations



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of the amended complaint in this action.

       11.     Defendants understand and agree to comply with the terms of 17 C.F.R.

§ 202.5(e), which provides in part that it is the Commission’s policy “not to permit a defendant

or respondent to consent to a judgment or order that imposes a sanction while denying the

allegations in the complaint or order for proceedings,” and “a refusal to admit the allegations is

equivalent to a denial, unless the defendant or respondent states that he neither admits nor denies

the allegations.” As part of Defendants’ agreement to comply with the terms of Section 202.5(e),

Defendants: (i) will not take any action or make or permit to be made any public statement

denying, directly or indirectly, any allegation in the complaint or creating the impression that the

complaint is without factual basis; (ii) will not make or permit to be made any public statement

to the effect that Defendants do not admit the allegations of the complaint, or that this Consent

contains no admission of the allegations, without also stating that Defendants do not deny the

allegations; (iii) upon the filing of this Consent, Defendants hereby withdraw any papers filed in

this action to the extent that they deny any allegation in the amended complaint; and

(iv) stipulate solely for purposes of exceptions to discharge set forth in Section 523 of the

Bankruptcy Code, 11 U.S.C. § 523, that the allegations in the amended complaint are true, and

further, that any debt for disgorgement, prejudgment interest, civil penalty or other amounts due

by Defendants under the Final Judgment or any other judgment, order, consent order, decree or

settlement agreement entered in connection with this proceeding, is a debt for the violation by

Defendants of the federal securities laws or any regulation or order issued under such laws, as set

forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. § 523(a)(19). If Defendants

breach this agreement, the Commission may petition the Court to vacate the Final Judgment and

restore this action to its active docket. Nothing in this paragraph affects Defendants’:



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(i) testimonial obligations; or (ii) right to take legal or factual positions in litigation or other legal

proceedings in which the Commission is not a party.

        12.     Defendants hereby waive any rights under the Equal Access to Justice Act, the

Small Business Regulatory Enforcement Fairness Act of 1996, or any other provision of law to

seek from the United States, or any agency, or any official of the United States acting in his or

her official capacity, directly or indirectly, reimbursement of attorney’s fees or other fees,

expenses, or costs expended by Defendants to defend against this action. For these purposes,

Defendants agree that Defendants are not the prevailing party in this action since the parties have

reached a good faith settlement.

        13.     In connection with this action and any related judicial or administrative

proceeding or investigation commenced by the Commission or to which the Commission is a

party, Meyers (i) agrees to appear and be interviewed by Commission staff at such times and

places as the staff requests upon reasonable notice; (ii) will accept service by mail or facsimile

transmission of notices or subpoenas issued by the Commission for documents or testimony at

depositions, hearings, or trials, or in connection with any related investigation by Commission

staff; (iii) appoints Meyers’ undersigned attorney as agent to receive service of such notices and

subpoenas; (iv) with respect to such notices and subpoenas, waives the territorial limits on

service contained in Rule 45 of the Federal Rules of Civil Procedure and any applicable local

rules, provided that the party requesting the testimony reimburses Meyers’ travel, lodging, and

subsistence expenses at the then-prevailing U.S. Government per diem rates; and (v) consents to

personal jurisdiction over Meyers in any United States District Court for purposes of enforcing

any such subpoena.

        14.     Defendants agree that the Commission may present the Final Judgment to the



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